    c -,--:r-
p                  I
                  Case
    ~-~. ~ .~ ~~ ,~.x r~. 4:18-cv-00167-O Document 248 Filed 04/09/19   Page 1 of 4 PageID 3042

l ~. l.li.i~ ~~-·~~~~
                        IN THE UNITED STATES COURT OF AF~~~~~{-~Jc~·c~~-!)~~xAs-·
                                 FOR THE FIFTH CIRCUIT      [._fii~-                     .             1




                                           ±:12   -c_ v- JlJ"1-C                  APR - 9 2019

                                               No. 19-10011                                       ,,
                                                                                                  '



          STATE OF TEXAS; STATE OF WISCONSIN; STATE OF ALABAMA;
          STATE OF ARIZONA; STATE OF FLORIDA; STATE OF GEORGIA; STATE
          OF INDIANA; STATE OF KANSAS; STATE OF LOUISIANA; STATE OF
          MISSISSIPPI, by and through Governor Phil Bryant; STATE OF MISSOURI;
          STATE OF NEBRASKA; STATE OF NORTH DAKOTA; STATE OF SOUTH
          CAROLINA; STATE OF SOUTH DAKOTA; STATE OF TENNESSEE;
          STATE OF UTAH; STATE OF WEST VIRGINIA; STATE OF ARKANSAS;
          NEILL HURLEY; JOHN NANTZ,

                         Plaintiffs - Appellees

          v.

          UNITED STATES OF AMERICA; UNITED STATES DEPARTMENT OF
          HEALTH & HUMAN SERVICES; ALEX AZAR, II, SECRETARY, U.S.
          DEPARTMENT OF HEALTH AND HUMAN SERVICES; UNITED STATES
          DEPARTMENT OF INTERNAL REVENUE; CHARLES P. RETTIG, in his
          Official Capacity as Commissioner of Internal Revenue,

                          Defendants - Appellants

          STATE OF CALIFORNIA; STATE OF CONNECTICUT; DISTRICT OF
          COLUMBIA; STATE OF DELAWARE; STATE OF HAWAII; STATE OF
          ILLINOIS; STATE OF KENTUCKY; STATE OF MASSACHUSETTS;
          STATE OF NEW JERSEY; STATE OF NEW YORK; STATE OF NORTH
          CAROLINA; STATE OF OREGON; STATE OF RHODE ISLAND; STATE OF
          VERMONT; STATE OF VIRGINIA; STATE OF WASHINGTON; STATE OF
          MINNESOTA,

                         Intervenor Defendants -Appellants
   Case 4:18-cv-00167-O Document 248 Filed 04/09/19   Page 2 of 4 PageID 3043




                Appeals from the United States District Court
                     for the Northern District of Texas


ORDER:

      IT IS ORDERED that the brief of Amicus Children's Partnership and
First Focus is stricken in accordance with FED. R. APP. P. 29(a)(2) and   5TH   CIR.
R. 29.4.



                                              Is/ Leslie H. Southwick
                                           LESLIE H. SOUTHWICK
                                        UNITED STATES CIRCUIT JUDGE
  Case 4:18-cv-00167-O Document 248 Filed 04/09/19   Page 3 of 4 PageID 3044
                                                                  R             F
                                                             ,--·-·---
                                                                APR -         9 LU1~ .
                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
                                                             L___ ,_____
                                                              i


                                                            cu:·r::t<. u.s.
                                                                                    -rci_
                                                                                    c~~j~.   {·
                                                           NOfiT;·-iEh:·~{!q~T c~·· t~~:'
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE
                                                          NEW ORLEANS, LA 70130



                             April 08, 2019
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 19-10011    State of Texas, et al v. USA, et al
                      USDC No. 4:18-CV-167--a

Enclosed is an order entered in this case.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk

                                   ~~
                                 By:
                                 Roeshawn Johnson, Deputy Clerk
                                 504-310-7998
Mr. Ryan Wolfe Allison
Ms. Ginger Anders
Mr. Peter J. Anthony
Mr. A. Xavier Baker
Mr. Benjamin Battles
Mr. Matthew Joseph Berns
Mr. Jack R. Bierig
Mr. Nathanael Blake
Mr. Kenneth Lee Blalack II
Ms. Kathleen Boergers
Ms. Kimberly Cahall
Mr. Z.W. Julius Chen
Mr. Stuart F. Delery
Ms. Bridget DiBattista
Mr. Nicholas M. DiCarlo
Ms. Margaret Dotzel
Mr. Nimrod Elias
Mr. Corey Francis Finkelmeyer
Mr. Benjamin Michael Flowers
Mr. Brian Rene Frazelle
Mr. Matthew Hamilton Frederick
Ms. Elaine Goldenberg
Ms. Brianne Gorod
Ms. Maame Gyamfi
Mr. David J. Hacker
Ms. Caitlin Joan Halligan
Mrs. Fadwa A. Hammoud
Mr. Brooks M. Hanner
  Case 4:18-cv-00167-O Document 248 Filed 04/09/19   Page 4 of 4 PageID 3045


Mr. Kyle Douglas Hawkins
Mr. Joshua L. Hedrick
Mr. Matthew S. Hellman
Mr. Robert E. Henneke
Ms. Hyland Hunt
Mr. Scott H. Ikeda
Mr. Paige Jennings
Mr. John T. Kitchens
Mr. Jeremy Kreisberg
Ms. Maria Rose Lenz
Mr. Douglas Neal Letter
Mr. Sean Michael Marotta
Ms. Catherine M. Masters
Mr. Darren Lee McCarty
Mr. Matthew Robert McGuire
Mr. Raffi Melkonian
Mr. Jonathan Meltzer
Ms. Rachel Miller-Ziegler
Ms. Karen S. Mitchell
Mr. Robert Tadao Nakatsuji
Mr. Eric Olson
Ms. Neli N. Palma
Mr. Joseph R. Palmore
Ms. Beth Bivans Petronio
Mr. Ashwin Pradyumna Phatak
Mr. Michael Qian
Mr. Joseph Rubin
Mr. Richard Salgado
Mr. Jaime Santos
Mr. William B. Schultz
Mr. Pratik A. Shah
Ms. Kristin Ann Shapiro
Mr. Brett Shumate
Mr. Samuel Siegel
Ms. Benna Ruth Solomon
Mr. Jeffrey T. Sprung
Mrs. Heidi Parry Stern
Mr. Todd Barry Tatelman
Mr. Martin Vincent Totaro
Ms. Jessica Elaine Underwood
Ms. Lorraine Alofa Van Kirk
Ms. Caroline Van Zile
Mr. Donald B. Verrilli Jr.
Mr. Stephen B. Vogel
Mr. Eric A. White
Ms. Jessica Willey
Mr. Daniel W. Wolff
Ms. Elizabeth Bonnie Wydra
Mr. David Meir Zionts
